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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA



NORTH AMERICAN BUTTERFLY                        No. 1:17-cv-2651-RJL
ASSOCIATION,

             Plaintiff,

   v.

NIELSEN, et al.,

             Defendants.




REPLY IN FURTHER SUPPORT OF PLAINTIFF’S MOTION FOR LEAVE TO
FILE SUPPLEMENTAL DECLARATION IN OPPOSITION TO DEFENDANTS’
                     MOTION TO DISMISS




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                                      INTRODUCTION

        Defendants go to great lengths to try to keep their outrageous, illegal conduct out of

the record and to obfuscate the simple gravamen of Plaintiff’s constitutional claims:

Defendants’ activities at the National Butterfly Center interfere so severely with NABA’s

property rights that they effectively have seized NABA’s property in violation of the

Fourth Amendment prohibition against unreasonable seizure of property and the Fifth

Amendment prohibition against depriving a citizen of property without due process of law.

Defendants mischaracterize their own motion to dismiss for lack of jurisdiction as a motion

to dismiss for failure to state a claim so they can misleadingly argue that NABA should

have amended its complaint instead of proffering facts in support of this Court’s

jurisdiction as evidence in the form of a declaration. They also continue to maintain that

this Court lacks the power to enjoin their unconstitutional activities on NABA’s property.

These arguments are unavailing, and the Court should grant NABA leave to file the Third

Declaration of Marianna T. Wright (“Third Declaration”).

                                         ARGUMENT

I.      Plaintiff Need Not Amend Its Complaint to Update the Factual Record in
        Opposition to a Motion to Dismiss for Lack of Subject Matter Jurisdiction

        Defendants betray their disingenuousness through their arguments that the Court

cannot consider matters outside the complaint on a motion to dismiss for failure to state a

claim. ECF No. 38, Defs.’ Opp. to Pl.’s Motion for Leave to File Suppl. Decl. at 3. In

fact, the primary basis defendants have urged for dismissal of the amended Complaint is

lack of jurisdiction, not failure to state a claim.
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       Defendants’ Motion to Dismiss chiefly asserts subject matter jurisdiction defenses

pled under Federal Rule of Civil Procedure 12(b)(1). ECF No. 25, Defs.’ Mem. in Support

of Motion to Dismiss at 2, 11 & 15 (contending Plaintiff’s NEPA claim is unripe); at 19–

22 (contending Plaintiff’s ESA claim is unripe); at 22 (arguing in the alternative that

Plaintiff’s ESA claim fails to state a claim); at 2 (contending Plaintiff’s constitutional

claims are unripe); at 27 (contending Plaintiff’s deprivation without due process claim is

unripe); at 8–10 (arguing for standard of review under Rule 12(b)(1), not Rule 12(b)(6)).

       It is beyond dispute that courts deciding a motion to dismiss under Rule 12(b)(1)

“may consider materials outside the pleadings.” Venetian Casino Resort v. EEOC, 409

F.3d 359, 366 (D.C. Cir. 2005) (“given the present posture of this case—a dismissal under

Rule 12(b)(1) on ripeness grounds—the court may consider materials outside the

pleadings”) (citing EEOC v. St. Francis Xavier Parochial Sch., 117 F.3d 621, 624 n. 3

(D.C. Cir. 1997)). Defendants admit as much in their opposition to NABA’s Motion for

Leave: “this Court may go beyond the pleadings to determine whether it has jurisdiction to

hear a case.” ECF No. 38 at 3.

       As stated in our Memorandum of Points and Authorities in Support, the Third

Declaration addresses Defendants’ subject matter jurisdiction defenses. ECF No. 37 at 2,

Dec. 5, 2018 (“The facts attested to in the Declaration further substantiate that NABA’s

claims are neither moot nor unripe.”). Accordingly, NABA’s proffer of these facts in the

form of evidence rather than an amended pleading is entirely appropriate, and this Court

may admit the Third Declaration and consider it when reviewing Defendants’ Motion to

Dismiss.



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II.    Defendants’ Further Argument in Support of Their Motion to Dismiss Is
       Unavailing.

       A.      NEPA & ESA Claims

       Defendants repeat their argument that NABA’s claims under NEPA and the ESA

are unripe due to lack of final agency action. ECF No. 38 at 4. Not only has NABA filed

overwhelming evidence to the contrary, but Defendants already have admitted in their

Supplemental Motion to Dismiss, ECF No. 34, that the event they say signals final agency

action—Defendant Nielsen’s determination under the Illegal Immigration Reform and

Immigrant Responsibility Act (“IIRIRA”) to waive application of NEPA, the ESA and

other statutes to construct the border wall across NABA’s property—has taken place. See

ECF No. 25-1 at 16 (IIRIRA determinations “invariably render[] an identifiable final

agency action”).

       Defendants also repeat their contention that Defendant Nielsen canceled NABA’s

NEPA and ESA claims against her and her subordinate co-defendants with her purported

IIRIRA waiver. As demonstrated in NABA’s Opposition to Defendants’ Supplemental

Motion to Dismiss, however, that purported waiver is ultra vires and therefore has no

effect other than to signal final agency action. See ECF No. 35, Pl.’s Opp. to Suppl.

Motion to Dismiss for Lack of Jurisdiction at 7–9, 12–13.

       B.      Unreasonable Search and Seizure of Property under Fourth
               Amendment

       Defendants’ continued invocation of the open fields doctrine ignores the branch of

NABA’s Fourth Amendment claim that Defendants’ activities have effected an

unreasonable seizure of NABA’s property. The open fields doctrine concerns the

reasonableness of searches vis-à-vis reasonable expectations of privacy. Oliver v. U.S.,


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466 U.S. 170, 180 (1984). But “[i]t is well established that the reasonableness of a seizure

turns on the nature and extent of interference with possessory, rather than privacy,

interests.” U.S. v. Miller, 799 F.3d 1097, 1102 (D.C. Cir. 2015). Not surprisingly, given

the exclusive focus on privacy rights in open fields cases, Defendants have cited no

authority that would strip away the right against unreasonable seizure of real property

based on how or whether it is developed.

        In relation to the branch of NABA’s Fourth Amendment claim that Defendants’

activities include unreasonable searches at the Butterfly Center, the fact-finding

Defendants ask of the Court to dismiss this claim under Rule 12(b)(6) is simply

impermissible at this juncture. Which portions of Butterfly Center property are truly

undeveloped land as opposed to curated natural landscaping installations and curtilage

around Butterfly Center buildings, as well as the relationship between NABA’s privacy

interests and Defendants’ authority to patrol, involve factual questions that must be

resolved at trial.

        C.      Deprivation of Property Without Due Process under Fifth Amendment

        Defendants continue to try to shoehorn NABA’s Fifth Amendment claim into a

takings claim that is governed by the Tucker Act and Little Tucker Act. In fact, NABA’s

claim is based on the due process clause of the Fifth Amendment and Defendants’ ongoing

activities that have deprived and continue to deprive NABA of its property rights in the

National Butterfly Center. The relief sought is not compensation but rather a declaration

that Defendants’ conduct violates the due process clause and an injunction to prevent their




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continuing lawless behavior. ECF No. 19, Am. Compl. ¶¶ 80–83 (Third Claim for Relief:

Deprivation of Property Without Due Process of Law).

       Defendants’ invocation of the Little Tucker Act in their opposition to the Third

Declaration is premised on their general, erroneous argument that NABA has alleged only

lawful actions by Defendants against its property rights. In fact, NABA alleges that

Defendants’ presence and activities on its property are unauthorized. ECF No. 19 ¶¶ 80–

81. Specific instances of unauthorized activities that interfere with NABA’s property

rights include, among others, placing surveillance equipment on NABA’s property without

permission, id. ¶ 59 (Defendant Padilla’s after-the-fact advice that CBP had placed sensors

on NABA’s property); prohibiting NABA from securing its property against intruders, id.

¶ 60 (Defendant Padilla’s threat to cut down any locks or gates NABA placed on its

property); perpetrating a campaign of harassment against Butterfly Center staff and

visitors, id. ¶ 61 (Defendants’ arbitrary detention of NABA staff and guests); and

prohibiting Butterfly Center staff and guests from freedom of movement on and access to

NABA’s land, id. ¶ 62 (CBP officers regularly stationed at Butterfly Center restrict access

to the Center and confront staff and visitors despite their clear identification as such).

       In response to Defendants’ jurisdictional challenges to the Amended Complaint,

NABA provided the Court with specific evidence that the conduct it alleged was

continuing six months after this action was commenced, in its June 2018 Opposition to

Defendants’ Motion to Dismiss. ECF No. 30. In the Declaration of Marianna Treviño

Wright, ECF No. 30-1, NABA detailed further harassment of Butterfly staff and visitors,

¶¶ 5 & 17–19; destruction of wide swaths of restored natural landscape, ¶¶ 7–8; further



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destruction of locks and gates, ¶ 21; and preventing access to 70% of the Butterfly Center

property, ¶ 22. The Third Declaration details further unlawful activity since NABA’s June

2018 submissions, including destruction of roadways and leaving gates at the Butterfly

Center open, ECF No. 37-1 ¶ 4; interference with videotaping for a Butterfly Center

marketing project, id. ¶ 6; harassing attendees and the keynote speaker at the Texas

Butterfly Festival at the Butterfly Center, id. ¶ 7; a continuing pattern of arbitrary stops of

Butterfly Center personnel, id. ¶ 8; and misrepresenting to visitors looking for the Butterfly

Center that it had closed, id. ¶ 9.

        Defendants try to pass off such conduct as authorized “patrolling” that supposedly

is “reasonable and necessary” to prevent persons from illegally entering the United States.

NABA does not contest that some of the Customs and Border Patrol’s activity at the

Butterfly Center over the years has fallen within the scope of legitimate patrolling as

established by 8 U.S.C § 1357(a)(3), and indeed Butterfly Center staff have supported and

assisted the CBP’s efforts to prevent illegal entry of aliens. See ECF No. 30-1, Wright

Decl. ¶ 4. But the conduct at issue cannot be viewed as a good faith exercise of the CBP’s

power to patrol; it is unlawful. Defendants have cited no authority that would render their

arbitrary harassment and intimidation of property owners and wanton violation of their

property rights acceptable under the Constitution.

        “The prohibition against the deprivation of property without due process of law

reflects the high value, embedded in our constitutional and political history, that we place

on a person's right to enjoy what is his, free of governmental interference.” Fuentes v.

Shevin, 407 U.S. 67, 81 (1972). The Supreme Court has “long . . . recognized [injunctive



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relief] as the proper means for preventing entities from acting unconstitutionally.”

Correctional Servs. Corp. v. Malesko, 534 U.S. 61, 74 (2001).

       It is thus clear that this Court has the power to enjoin Defendants’ deprivation of

NABA’s property without due process, and NABA proffers the Third Declaration to

demonstrate that this Court continues to have jurisdiction to enjoin Defendants’ illegal

conduct. The Little Tucker Act as well as the Tucker Act are inapplicable.

                                       CONCLUSION

       As demonstrated in our opening Memorandum of Points and Authorities, the

existence of ongoing or recurring illegal conduct is a factor in the Court’s power to grant

injunctive relief, and Defendants have challenged the Court’s jurisdiction over NABA’s

claims variously on grounds of ripeness and mootness under Federal Rule of Civil

Procedure 12(b)(1). ECF No. 37, Mem. in Support of Motion for Leave to File Suppl.

Decl. at 3. Accordingly, the Court plainly has discretion to grant leave to file the Third

Declaration inasmuch as it further tends to establish that NABA’s constitutional claims are

justiciable and warrant injunctive relief.

Dated: New York, New York
       December 26, 2018

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